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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 IMPLICIT, LLC,                                   §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                                  §
 NETSCOUT SYSTEMS, INC.,                          §
                                                  §
                Defendant.                        §

                                            ORDER

       Before the Court is Plaintiff Implicit, LLC and Defendant NetScout Systems, Inc’s

(collectively, the “Parties”) Agreed Motion for Extension of Time to File Post-Trial Motions (the

“Motion”). (Dkt. No. 243.) In the Motion, the Parties request a fourteen (14) day extension to file

“any post-trial motions, including any motions for a new trial, motions for judgment as a matter

of law, and/or any motion under 35 U.S.C. § 285”. (Id. at 1.) However, the time limit for filing a

motion for new trial or motion for judgment as a matter of law is mandatory and cannot be extended

by a trial court. FED. R. CIV. P. 6(b) (“A court must not extend the time to act under Rules 50(b)

and (d), 52(b), 59(b), (d), and (e), and 60(b)”); see Tarlton v. Exxon, 688 F.2d 973, 977 (5th Cir.

1982) (“The time limit for filing a new trial motion imposed in Rule 59(b) is mandatory and

jurisdictional; it cannot extended by the trial court.”). Accordingly, the Court cannot grant the

relief as requested.

       Having reviewed the Motion and based on the foregoing, the Court is of the opinion that

the Motion should be and hereby is DENIED.
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    So ORDERED and SIGNED this 6th day of January, 2020.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE




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